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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



 IN RE SOLODYN (MINOCYCLINE                        MDL No. 2503
 HYDROCHLORIDE) ANTITRUST
 LITIGATION                                        l:14-md-2503-DJC



 THIS DOCUMENT RELATES TO:

 ALL END-PAYOR ACTIONS




        IPRUPUSED] ORDER APPROVING END-PAYOR CLASS PLAINTIFFS'
          SETTLEMENTS WITH MEDICIS PHARMACEUTICAL CORP. AND
        IMPAX LABORATORIES, INC.; ENTERING FINAL JUDGMENT; AND
           DISMISSING END-PAYOR CLASS'S CLAIMS AGAINST MEDICIS
           PHARMACEUTICAL CORP. AND IMPAX LABORATORIES INC.


       WHEREAS, on February 25, 2018, Plaintiffs, United Food and Commercial Workers

Local 1776 & Participating Employers Health and Welfare Fund, the City of Providence, Rhode

Island, Fraternal Order of Police, Fort Lauderdale Lodge 31 Insurance Trust Fund, International

Union of Operating Engineers Local 132 Health and Welfare Fund, International Union of

Operating Engineers Stationary Engineers Local 39 Health & Welfare Trust Fund, Painters

District Council No. 30 Health and Welfare Fund, Plumbers & Pipefitters Local 178 Health &

Welfare Trust Fund, Heather Morgan, Man-U Service Contract Trust Fund, Sheet Metal Workers

Local No. 25 Health & Welfare Fund, Local 274 Health & Welfare Fund, and Allied Services

Welfare Fund (collectively, "End-Payor Class Plaintiffs"), on behalf of themselves and the

certified End-Payor Class, and Defendant Medicis Pharmaceutical Corp. ("Medicis") entered

into a settlement agreement ("Medicis Settlement Agreement"), which sets forth the terms and

conditions of the parties' proposed settlement and the release and dismissal with prejudice of the

End-Payor Class's claims against Medicis ("Medicis Settlement");
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       WHEREAS, on March 28,2018, End-Payer Class Plaintiffs, on behalf of themselves and

the End-Payor Class, and Defendant Impax Laboratories, Inc. ("Impax"), entered into a

settlement agreement (the "Impax Settlement Agreement"), which sets forth the terms and

conditions of the parties' proposed settlement and the release and dismissal with prejudice of the

End-Payor Class's claims against Impax (the "Impax Settlement");

       WHEREAS, on March 6, 2018 and April 5, 2018, upon End-Payor Class Plaintiffs'

Motions for Preliminary Approval of Proposed Class Action Settlements with Medicis and

Impax ("End-Payor Class Plaintiffs' Motions"), this Court entered Orders: (i) preliminarily

approving the Medicis and Impax Settlements; (ii) staying End-Payor Class Plaintiffs' litigation

against Medicis and Impax; and (iii) approving the Notice Plans and Long and Short Form

Notices, setting schedules for final approval of the Settlements and appointing A.B. Data, Ltd. as

Notice Administrator;

       WHEREAS notice of the Settlements to the End-Payor Class, including End-Payor Class

Counsel's intent to seek attorneys' fees, reimbursement of costs and expenses and incentive

awards for the named plaintiffs from the Settlement Funds, was provided via direct mail and

publication in accordance with the approved Notice Plan, and was completed on or before the

court-ordered deadlines of May 8, 2018 for the Medicis Settlement and June 11, 2018 for the

Impax Settlement;

       WHEREAS members of the End-Payor Class were afforded the opportunity to object to

the Settlements, and no objections were received;

       WHEREAS, on June 18, 2018, End-Payor Class Plaintiffs filed a Motion for Final

Approval of Class Action Settlements with Medicis and Impax;

       WHEREAS, Medicis and Impax do not oppose End-Payor Class Plaintiffs' Motion;
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        WHEREAS, the Court held a hearing on final approval of the settlements on July 18,

2018; and

        WHEREAS, the Court is familiar with and has reviewed the record in this case and the

Settlement Agreements, including the attached exhibits, and has found good cause for entering

the following Order.

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        1.      This Court has jurisdiction to enter this Order and Final Judgment. The Court has

jurisdiction over the subject matter of this action and over all parties to the action, including all

members of the End-Payor Class.

        2.     This Order and Final Judgment incorporates the Medicis and Impax Settlement

Agreements, and terms used in this Order and Final Judgment that are defined in the Medicis and

Impax Settlement Agreements have the same meanings as in the respective Settlement

Agreements.

        3.     In light of this Court's previous order dated October 16, 2017 (Dkt. No. 682)

certifying the End-Payor Class pursuant to Fed. R. Civ. P. 23(a) and (b)(3), and the now

proposed Settlements in the above-captioned action (the "Action") with Impax and Medicis, for

purposes of these Settlements the Class is defined as follows:

       All persons or entities in the United States and its territories and possessions,
       including the Commonwealth of Puerto Rico, who indirectly purchased, paid
       and/or provided reimbursement for some or all of the purchase price for Solodyn
       45mg, 55mg, 65mg, 80mg, 90mg, 105mg, 115mg and/or 135mg tablets and/or
       generic versions of one or more of these dosages in Alabama, Alaska, Arizona,
       Arkansas, California, Florida, Hawaii, Idaho, Illinois, Iowa, Kansas, Louisiana,
       Maine, Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana,
       Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York, North
       Carolina, North Dakota, Oklahoma, Oregon, Rhode Island, South Dakota,
       Tennessee, Utah, Vermont, Washington, West Virginia, Wisconsin, Wyoming,
       the District of Columbia and Puerto Rico, for consumption by themselves, their
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       families, or their members, employees, insureds, participants, or beneficiaries,
       other than for resale, at any time from July 23, 2009 to February 25,2018.

       4.     The following persons or entities are excluded from the End-Payor Class:

               a. Defendants and their counsel, officers, directors, management, employees,
                  subsidiaries, or affiliates;

               b. All federal or state governmental entities, excluding cities, towns, or
                  municipalities with self-funded prescription drug plans;

               c. All persons or entities who purchased Solodyn or its generic equivalents for
                  purposes of resale or directly from the Defendants or their affiliates;

               d. Fully insured health plans (plans that purchased insurance from another third-
                  party payor covering 100% of the plan's reimbursement obligations to its
                  members);

               e. Pharmacy Benefits Managers;

               f. Flat co-payers (consumers who paid the same co-payment amount for brand
                  and generic drugs); and

               g. The judges in this case and any members of their immediate families.

       5.      Members of the End-Payor Class were provided with due and adequate notice of

the Settlements, including their right to object to the Settlements and End-Payor Class Counsel's

intent to seek from the Settlement Funds attorneys' fees, reimbursement of costs and expenses

and incentive awards for the named plaintiffs. Notice was distributed via both direct mail and

publication notice. Such notice frilly complied in all respects with the requirements of Rule 23

of the Federal Rules of Civil Procedure and due process of law. A full and fair opportunity to be

heard was afforded to all members of the Class with respect to the foregoing matters.

Accordingly, the Court hereby determines that all members of the End-Payor Class are bound by

this Order and Final Judgment.

       6.      The terms of the Medicis Settlement Agreement, dated February 25, 2018,

including all exhibits thereto, are approved. The Medicis Settlement Agreement was entered into
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after substantial discovery and motion practice and arm's-length negotiations by experienced

counsel on behalf of the End-Payor Class. The Court finds the Medicis Settlement Agreement

and its terms to be a fair, reasonable and adequate settlement as to the End-Payor Class within

the meaning of Rule 23 of the Federal Rules of Civil Procedure and directs the consummation of

the Medicis Settlement Agreement pursuant to its terms.

       7.      The Proposed Plan of Allocation for the Medicis Settlement Funds, Dkt. No.

1067-7, is hereby approved, and the Claims Administrator, A.B. Data, Ltd., is authorized to

begin administration and distribution of the Settlement Funds in accordance with the Plan of

Allocation.


       8.      The terms of the Impax Settlement Agreement, dated March 28, 2018, are

approved. The Impax Settlement Agreement was entered into after substantial discovery, motion

practice, ten days of trial and arm's-length negotiations by experienced counsel on behalf of the

End-Payor Class. The Court finds the hnpax Settlement Agreement and its terms to be a fair,

reasonable and adequate settlement as to the End-Payor Class within the meaning of Rule 23 of

the Federal Rules of Civil Procedure and directs the consummation of the Impax Settlement

Agreement pursuant to its tenns.

       9.      The Proposed Plan of Allocation for the Impax Settlement Funds, Dkt. No. 1143-

3, is hereby approved, and the Claims Administrator, A.B. Data, Ltd., is authorized to begin

administration and distribution of the Settlement Funds in accordance with the Plan of

Allocation.


       10.     The Court will address by separate Order the motion filed by the End-Payor Class

Plaintiffs and Class Counsel for attorney's fees, reimbursement of costs and expenses and

incentive awards for the named plaintiffs.
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         11.   The End-Payor Class's claims against Impax in this action are dismissed with

prejudice and, except as provided for herein and in the Impax Settlement Agreement, without

costs.


         12.   As set forth in the Impax Settlement Agreement, upon the Impax Settlement

Agreement becoming final in accordance with paragraph 5 of that Agreement, each of the End-

Payor Class Plaintiffs and members of the End-Payor Class reteft6€s,[aTd shall be deemed to have
                                                                                                      IA

unconditionally, fully and finally released and forever discharged, each and every Released

Claim against each of the Released Parties.

         13.   The End-Payor Class's claims against Medicis in this action are dismissed with

prejudice and, except as provided for herein and in the Medicis Settlement Agreement, without

costs.


         14.   As set forth in the Medicis Settlement Agreement, upon the Medicis Settlement

Agreement becoming final in accordance with paragraph 5 of the Agreement, each of the End-           . ,

Payor Class Plaintiffs and members of the End-Payor Class re+eases,        shall be deemed to have

unconditionally, fiilly and finally released and forever discharged, each and every Released

Claim against each ofthe Released Parties.                                                                 ^C.
         15.   This Order and Final Judgment shall not be offered or admitted against any of the

Released Parties as evidence of, or construed as or deemed to be evidence of, any admission by

any of the Released Parties with respect to the truth of any allegations made by End-Payor Class

Plaintiffs or the validity of any claim asserted against any of the Released Parties. This Order

and Final Judgment shall not be offered or admitted as evidence against any of the Released

Parties in any other matter or proceeding except as may be necessary to consummate or enforce

the Settlement Agreements or the tenns of this Order and Final Judgment; or if offered by any
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Releasee or Releasor in a dispute over the scope or interpretation of the Released Claims, the

dismissed claims or any other terms of this Order and Final Judgment.

         16.   Pursuant to Fed. R. Civ. P. 54(b), there is no just reason for delay in the entry of

this Order and Final Judgment, and the Clerk of the Court is directed to immediately enter final

judgmentdismissing with prejudice: (i) the End-Payor Class's claims against Impax; and (ii) the

End-Payor Class's claims against Medicis. Such judgment shall be final and immediately

appealable.

         17.   The Court retains exclusive jurisdiction to consider all further matters arising out

of or connected with the Settlements and the Settlement Agreements, including the

administration and consummation of the Settlements and, as provided for in the Settlement

Agreements, the payment and reimbursement of attorneys' fees, costs and expenses and

disbursement of the remainder of the Settlement Funds.


                                                        ERED:


Dated;                             2018
                                              DenisTt: Casper
                                              United States District Court Judge
                                              U.S. District Court for the District of Massachusetts
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                               CERTIFICATE OF SERVICE


       I hereby certify that on June 18, 2018, a true copy of the foregoing document was served

on all counsel of record by electronically filing the document with the Court's CM/ECF system.

                                                           /s/ Michael M. Buchman

                                                           Michael M. Buchman
